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           12    INC., and VERIZON MEDIA INC.
           13                              UNITED STATES DISTRICT COURT
           14                             CENTRAL DISTRICT OF CALIFORNIA
           15                                   WESTERN DIVISION
           16    EVOX PRODUCTIONS LLC, a                     CASE NO. 2:20-cv-02907-JWH-JEM
                 Delaware limited liability company,
           17                                                DEFENDANTS’ STATEMENT OF
                             Plaintiff,                      UNDISPUTED FACTS IN SUPPORT
           18                                                OF MOTION FOR SUMMARY
                       v.                                    JUDGMENT
           19
                 AOL INC., a Delaware corporation;           [Notice Of Motion And Motion For
           20    OATH INC., a Delaware corporation;
                 VERIZON MEDIA INC., a Delaware              Summary Judgment; Declaration of Ilissa
           21    corporation; and DOES 1-10,                 Samplin; Declaration of Tom Pitts;
                                                             Declaration of Ray Dorman Filed
           22                Defendants.
                                                             Concurrently Herewith]
           23
                                                             HEARING:
           24                                                Date:    July 23, 2021
                                                             Time:    9:00 a.m.
           25                                                Judge:   John W. Holcomb
           26

           27               REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
                                               UNDER SEAL
           28
                                                         1
                     DEFENDANTS’ STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF MOTION FOR SUMMARY
Gibson, Dunn &                                        JUDGMENT
Crutcher LLP
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            1
                      Defs.’                        Fact                          Supporting Evidence
            2
                     SUF No.
            3
                      1.        Evox and AOL executed a Confidential           Ex. 3 at 1.1
            4
                                Image License Agreement in April 2014
            5
                                (the “license”).
            6
                      2.        The license authorized AOL to use              Id. at 12.
            7
                                images from the “Evox Automotive
            8
                                Image Library” on AOL’s “Autoblog”
            9
                                website.
           10
                      3.        The license stated that “AOL shall have        Id. at 3.
           11
                                the right to terminate this Agreement for
           12
                                any reason upon thirty (30) days written
           13
                                notice.”
           14
                      4.        The license stated that “[u]pon                Id. at 3.
           15
                                termination of the [License] . . . , AOL
           16
                                shall cease use of the Images.”
           17
                      5.        The license stated that “AOL can store         Id. at 1.
           18
                                Images internally after termination in
           19
                                AOL’s internal storage system for
           20
                                auditing and documentation purposes.”
           21
                      6.        The license granted Evox “the right to         Id. at 8–9.
           22
                                examine and audit all of AOL’s records
           23
                                strictly related to the relationship” “for a
           24
                                period of twelve (12) months following
           25

           26
                 1
           27      Unless stated otherwise, Exhibits 1–25 refer to the Exhibits attached to the Declaration
                 of Ilissa Samplin in Support of Defendants’ Motion for Summary Judgment (“Samplin
           28    Decl.”), filed concurrently herewith.
                                                               2
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            1
                             the expiration” of the license “to verify
            2
                             AOL’s compliance with the terms of this
            3
                             Agreement.”
            4
                    7.       The license did not require AOL to          See generally id.; Ex. 5 at 8.
            5
                             provide Evox periodic data on unique
            6
                             views of pages containing Evox’s
            7
                             images.
            8
                    8.       The license required Evox to “promptly      Ex. 3 at 9.
            9
                             inform [AOL] of any information related
           10
                             to the Images which could reasonably
           11
                             lead to a claim . . . against [it].”
           12
                    9.       While the license was in effect, AOL        Ex. 6 at 9; Ex. 7 at 30:12–
           13
                             stored Evox’s images on AOL’s “origin       14, 34:22–38:6, 91:2–21,
           14
                             host server.”                               137:7–20; Ex. 17 at 36:5–
           15
                                                                         37:10, 51:3–52:20.
           16
                    10.      The Autoblog website contains an            Ex. 2 at 18:18–19:14; Ex. 7
           17
                             “editorial side.”                           at 16:1–10.
           18
                    11.      The editorial side of the Autoblog          Ex. 2 at 18:18–22; Ex. 17 at
           19
                             website “caters to [automobile]             20:15–16.
           20
                             enthusiasts and news readers who are
           21
                             interested in automotive news.”
           22
                    12.      The Autoblog website also contains a        Ex. 2 at 18:18–19:14; Ex. 7
           23
                             “product side.”                             at 16:11–25.
           24
                    13.      The produce side of the Autoblog            Ex. 2 at 18:23–19:14; Ex. 7
           25
                             website “caters to people who are           at 16:11–25.
           26
                             researching” or are “in [the] market to
           27

           28
                                                             3
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            1
                             purchase vehicles . . . or sell their own
            2
                             vehicles.”
            3
                    14.      The product side of Autoblog contains       Ex. 2 at 22:3–7; Ex. 7 at
            4
                             several “research tools.”                   31:16–32:2, 54:8–60:19,
            5
                                                                         75:12–18.
            6
                    15.      The product side of Autoblog contains a     Ex. 2 at 77:1–11.
            7
                             “Year Make Model” tool where users
            8
                             can search for specific vehicles.
            9
                    16.      The product side of Autoblog contains a     Id. at 22:8–14.
           10
                             “Car Finder” tool where users can search
           11
                             for vehicles based on certain criteria.
           12
                    17.      The product side of Autoblog contains a     Id. at 22:15–17
           13
                             “Compare” tool where users can
           14
                             compare vehicles side by side.
           15
                    18.      AOL used Evox images only on the            Ex. 6 at 8–9; Ex. 2 at 30:9–
           16
                             product side of the Autoblog site.          18, 31:14–18, 71:1–21.
           17
                    19.      AOL also used images from Autodata          Ex. 17 at 22:8–9; Ex. 7 at
           18
                             Solutions, another image provider, on the 31:10–32:2, 72:12–23; Ex. 2
           19
                             product side of Autoblog because “there     at 29:6–24; 39:10–14.
           20
                             were some gaps” in the coverage that
           21
                             Evox provided (i.e., certain vehicles for
           22
                             which Evox did not supply images).
           23
                    20.      AOL decided to terminate the license to     Ex. 2 at 99:2–17; 107:17–
           24
                             reduce costs and transition to using        22, 120:2–121:13, 140:15–
           25
                             exclusively Autodata images on              20.
           26
                             Autoblog.
           27

           28
                                                           4
                    DEFENDANTS’ STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF MOTION FOR SUMMARY
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            1
                    21.      Before terminating the license, AOL        Ex. 7 at 71:1–72:24, 79:3–
            2
                             began removing Evox images from            15, 138:6–13.
            3
                             Autoblog and replacing them with
            4
                             Autodata images.
            5
                    22.      Dorman developed a workstream in           Ex. 2 at 127:18–23, 151:9–
            6
                             December 2016, prior to license            154:21.
            7
                             termination, to “make the switchover” to
            8
                             Autodata images “so that [AOL] would
            9
                             no longer be displaying Evox images”
           10
                             after the license terminated.
           11
                    23.      Tom Pitts is, and was in December 2016, Ex. 7 at 11:22–24;
           12
                             “the lead back-end developer” for          Declaration of Tom Pitts
           13
                             Autoblog.                                  (“Pitts Decl.”) ¶ 3.
           14
                    24.      Dorman delegated responsibility to Pitts   Ex. 2 (Dorman Depo.) at
           15
                             to remove Evox images from display on      151:21–153:15; Pitts Decl. ¶
           16
                             Autoblog.                                  5; Declaration of Ray
           17
                                                                        Dorman (“Dorman Decl.”) ¶
           18
                                                                        4.
           19
                    25.      Pitts rewrote software code in December    Ex. 7 at 71:1–12, 81:2–82:3,
           20
                             2016 so that Evox images would no          92:6–12, 121:7–25, 123:2–
           21
                             longer appear on Autoblog if a user        11, 130:17–131:6, 138:6–
           22
                             visited the site.                          10; Pitts Decl. ¶ 6.
           23
                    26.      Pitts disabled the display of Evox images Ex. 7 at 123:12–15; 124:5.
           24
                             on all parts of the product side of
           25
                             Autoblog, except that he inadvertently
           26
                             “missed changing” the images on “one
           27
                             small section of [C]ompare.”
           28
                                                             5
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            1
                    27.      After Pitts rewrote the software code in    Dorman Decl. ¶¶ 5–6; Pitts
            2
                             December 2016, Dorman reviewed              Decl. ¶ 6; Ex. 8 at 1.
            3
                             Pitts’s work and concluded “this all
            4
                             looks good from what I can tell.”
            5
                    28.      After December 2016, “the correct           Ex. 7 at 123:16–124:6.
            6
                             image” (i.e., an Autodata image) would
            7
                             have appeared if a user visited most
            8
                             sections of Compare, whereas Evox
            9
                             images might have appeared on “part of”
           10
                             Compare.
           11
                    29.      The license terminated effective            Ex. 2 at 107:17–22, 120:2–
           12
                             February 2017.                              121:13, 140:15–20.
           13
                    30.      Shortly after the license terminated,       Dorman Decl. ¶ 8.
           14
                             Evox informed AOL that Evox images
           15
                             may have still been used “in the style
           16
                             tab” on Autoblog.
           17
                    31.      AOL promptly addressed Evox’s               Id. ¶ 8.
           18
                             concern that Evox images may have still
           19
                             been used “in the style tab” on Autoblog
           20
                             after the license terminated.
           21
                    32.      Pitts learned that Evox images could        Ex. 7 at 124:7–21.
           22
                             have been called up on a small section of
           23
                             Compare after the Evox images no
           24
                             longer existed on AOL’s server.
           25
                    33.      Upon learning that some pages were set      Id. at 124:12–15.
           26
                             to “call[] Evox images that don’t exist,”
           27

           28
                                                             6
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            1
                             Pitts “fixed it” so that those webpages
            2
                             would call “Autodata images.”
            3
                    34.      In June 2017, AOL deleted all Evox        Ex. 7 at 83:8–18, 92:23–
            4
                             images from AOL’s server.                 93:9, 102:13–103:8,
            5
                                                                       119:19–23, 123:12–125:18;
            6
                                                                       Ex. 10 at 51:12–15; Ex. 6 at
            7
                                                                       8–9; Ex. 9 at 2; Pitts Decl.
            8
                                                                       ¶¶ 8–9.
            9
                    35.      After AOL deleted all Evox images from Ex. 7 at 131:7–14; Pitts
           10
                             its server in June 2017, no Evox images   Decl. ¶¶ 8–9.
           11
                             could have been accessed through
           12
                             AOL’s server.
           13
                    36.      Evox maintains a “compliance              Ex. 11 at 28:7–11, 33:16–
           14
                             department.”                              22; Ex. 16 at 22:25–23:5;
           15
                                                                       Ex. 4 at 6–7.
           16
                    37.      The compliance department consisted of    Ex. 16 at 24:3–6.
           17
                             two employees in 2017: Barry
           18
                             Thompson and Tyler Alexander.
           19
                    38.      Thompson is Evox’s Vice President.        Ex. 11 at 26:9–18.
           20
                    39.      Alexander is an Evox data analyst.        Ex. 16 at 20:19–21:1.
           21
                    40.      Evox’s compliance department is           Ex. 16 at 22:3–6, 24:22–
           22
                             charged with investigating whether        25:8, 49:8–12; Ex. 11 at
           23
                             current and former licensees are using    33:17–37:6.
           24
                             Evox images outside the scope of their
           25
                             licenses.
           26

           27

           28
                                                          7
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            1
                    49.      Alexander uses this process to determine    Id. at 62:8–63:12.
            2
                             whether Evox images might be available
            3
                             on the licensee’s website.
            4
                    50.      Alexander does not determine “whether       Id. at 35:2–7.
            5
                             . . . members of the public . . . are
            6
                             actually viewing those images” identified
            7
                             during his process.
            8
                    51.      Alexander also does not determine           Id. at 63:8–16.
            9
                             whether the “licensee had actually served
           10
                             [an] image to anybody else besides
           11
                             [himself].”
           12
                    52.      Alexander does not “do anything to          Id. at 64:18–22.
           13
                             determine whether a former licensee has
           14
                             served the image to a user other than
           15
                             [himself].”
           16
                    53.      Alexander finds only “that there is . . .   Id. at 64:18–65:1.
           17
                             potential for display to a member of the
           18
                             public.”
           19
                    54.      Alexander then transmits the URL lists      Id. at 43:13–45:11.
           20
                             he has created to a consultant.
           21
                    55.      Tennyson Maxwell was Evox’s                 Ex. 11 at 42:15–44:8.
           22
                             “technical consultant.”
           23
                    56.      Tennyson Maxwell was Evox’s                 Id. at 25:22–23; 42:24–44:8.
           24
                             exclusive consultant from 2007 to 2017.
           25
                    57.      Tennyson Maxwell is owned and               Ex. 12 at 8:11–9:6, 54:2–10.
           26
                             operated solely by Michael Del Monte.
           27

           28
                                                            9
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            1
                   58.       Evox and Del Monte had a “well-            Ex. 16 at 94:22–24.
            2
                             established work flow.”
            3
                   59.       Evox used Del Monte’s services             Ex. 11 at 42:24–44:8,
            4
                             approximately 60 times from 2007 to        53:17–54:6, 173:23–174:25
            5
                             2017.
            6
                   60.       When Evox transmitted URL lists to Del     Ex. 16 at 45:7–11, 71:19–
            7
                             Monte, he would “verify that the images    73:3.
            8
                             appeared on the web page.”
            9
                   61.       Del Monte would “provide a report          Id. at 46:22–47:7.
           10
                             asserting that” Evox images appeared on
           11
                             the web page.
           12
                   62.       Del Monte “doesn’t find anything”          Ex. 11 at 164:18–22; Ex. 12
           13
                             during the course of his work for Evox;    at 12:23–25, 40:22–41:4;
           14
                             rather, he “confirms things [Evox]         Ex. 16 at 74:23–75:5.
           15
                             find[s].”
           16
                   63.       Del Monte uses an automated process in     Ex. 12 at 34:10–22.
           17
                             his work for Evox.
           18
                   64.       After receiving Del Monte’s report, Evox Ex. 11 at 43:9–44:1; 53:6–
           19
                             hires counsel on a contingency fee basis   11, 177:3–6.
           20
                             to send the current or former licensee a
           21
                             demand letter threatening litigation.
           22
                   65.       It typically takes Evox “[t]hree to six    Id. at 48:4–50:4, 51:1–18.
           23
                             months” from the beginning of its
           24
                             investigation to “get[] a letter out.”
           25
                   66.       Evox investigated AOL in May and June      Ex. 16 at 93:5–6; 96:13–
           26
                             2017.                                      97:4.
           27

           28
                                                           10
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            1
                   67.       Evox followed its normal pattern when       Ex. 11 at 177:3–6; Ex. 16 at
            2
                             investigating AOL.                          93:21–95:1.
            3
                   68.       Alexander testified that he conducted his   Ex. 16 at 89:12–90:6.
            4
                             investigation of AOL by going “directly
            5
                             to Autoblog.”
            6
                   69.       Evox determined only that “AOL made         Ex. 11 at 41:16–42:4,
            7
                             [Evox] images available to the public”      212:24–25.
            8
                             after the license terminated.
            9
                   70.       Evox did not “discover whether any . . .    Ex. 16 at 92:16–21, 98:13–
           10
                             members of the public . . . actually        17, 112:18–113:10, 115:24–
           11
                             accessed and viewed the Evox images on 116:12, 123:11–16.
           12
                             the Autoblog site” after the license
           13
                             terminated.
           14
                   71.       Evox did not “discover whether AOL          Id. at 92:22–25.
           15
                             had actually served Evox images to
           16
                             members of the public after the license
           17
                             terminated.”
           18
                   72.       Thompson testified that Evox does not       Ex. 11 at 218:11–16; Ex. 24
           19
                             have “any evidence” that “a single          at 3–4.
           20
                             individual . . . saw any of the Evox
           21
                             images on Autoblog after the license
           22
                             terminated in February 2017.”
           23
                   73.       Thompson agreed that Evox does not          Ex. 11 at 41:16–42:4,
           24
                             know whether any members of the public 208:22–209:7.
           25
                             “actual[ly] access[ed]” and “viewed”
           26
                             Evox images on Autoblog after the
           27
                             license terminated.
           28
                                                             11
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            1
                   74.       Thompson testified: “After February          Id. at 222:19–22.
            2
                             ’17, can I point to a generalized member
            3
                             of the public that saw my images? I’ve
            4
                             answered that three or four or five times.
            5
                             And, no, I can’t.”
            6
                   75.       Del Monte used an automated process to       Ex. 4 at 4–5; Ex. 16 at
            7
                             confirm that Evox images were                47:11–15, 95:5–99:18,
            8
                             “available from the AOL server” at the       102:7–13; Ex. 12 at 41:17–
            9
                             time he scanned the server.                  44:23, 45:8–46:11, 57:8–
           10
                                                                          60:24, 62:8–63:7, 70:1–16,
           11
                                                                          80:10–19, 84:11–85:22,
           12
                                                                          92:2–7, 97:6–100:5,
           13
                                                                          108:16–109:12, 122:4–
           14
                                                                          123:9, 127:20–129:1,
           15
                                                                          131:4–13, 132:17–135:21,
           16
                                                                          139:1–2, 160:7–22; Ex. 13
           17
                                                                          at 1; Ex. 14 at 1; Ex. 15 at 1.
           18
                   76.       Del Monte did not “determine . . .           Ex. 12 at 47:19–48:1.
           19
                             whether any member of the public, in
           20
                             fact, viewed [an] Evox image” through
           21
                             AOL’s server after February 2017.
           22
                   77.       Del Monte testified that he did “not         Id. at 48:9–11, 49:6–14,
           23
                             verify[]” whether anyone had seen Evox       95:4–14, 105:14–16.
           24
                             images through AOL’s server.
           25
                   78.       Del Monte could not say “whether any         Id. at 147:10–16.
           26
                             member of the public actually saw the
           27

           28
                                                           12
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            1
                             images that [he] located during [his]
            2
                             scans after February 2017.”
            3
                   79.       Evox did not ask Del Monte “to                Id. at 147:17–23.
            4
                             determine whether any member of the
            5
                             public . . . had viewed the Evox images
            6
                             at the URLs provided to [him] by Tyler
            7
                             Alexander after February 2017.”
            8
                   80.       Evox did not ask Del Monte “to                Id. at 50:16–25, 117:19–
            9
                             determine viewership” of Evox images          118:2.
           10
                             or the webpages on which they may have
           11
                             appeared.
           12
                   81.       AOL’s access logs would have shown            Ex. 7 at 126:13–127:2.
           13
                             whether AOL ever served an Evox image
           14
                             to a member of the public after the
           15
                             license terminated effective February
           16
                             2017.
           17
                   82.       Evox “never exercised [its] contractual       Ex. 23 at 2; Ex. 11 at
           18
                             right to examine and audit AOL’s              138:14–21, 211:9.
           19
                             records relating to AOL’s use of [Evox’s
           20
                             images].”
           21
                   83.       Alexander agreed that Evox’s audit right      Ex. 16 at 82:22–83:7.
           22
                             “presumably” would have permitted
           23
                             Evox to inspect AOL’s access logs.
           24
                   84.       When asked why Evox did not exercise          Ex. 11 at 139:11–25.
           25
                             its contractual audit right, Thompson
           26
                             testified that he “can’t identify a benefit
           27
                             of doing that” since Evox was able to
           28
                                                           13
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            1
                             determine on its own that certain Evox
            2
                             images were available on AOL’s server
            3
                             after license termination.
            4
                   85.       Thompson testified that Evox “could          Id. at 140:2–142:22, 147:9–
            5
                             have reached out to AOL and asked” for       17.
            6
                             “user data,” but he “didn’t feel he needed
            7
                             to” because Evox “didn’t need any more
            8
                             data from AOL” beyond what Evox had
            9
                             found.
           10
                   86.       Evox completed its investigation of AOL Ex. 15 at 1.
           11
                             in July 2017.
           12
                   87.       Evox did not contact AOL about Evox’s        Ex. 11 at 211:3–4.
           13
                             purported findings until August 2018.
           14
                   88.       As part of its normal pattern, Evox does     Ex. 16 at 43:9–12.
           15
                             not typically “immediately inform the
           16
                             licensee of its findings.”
           17
                   89.       Evox does not immediately notify a           Ex. 11 at 42:15–19, 45:8–
           18
                             licensee of its findings because such        48:3.
           19
                             notice may cause the licensee to comply
           20
                             with its license and the “evidence” of
           21
                             alleged infringement “[to] disappear[].”
           22
                   90.       Evox sent AOL a demand letter in             Ex. 18 at 1.
           23
                             August 2018.
           24
                   91.       In its August 2018 demand letter, Evox       Id.
           25
                             threatened to seek over $200 million in
           26
                             statutory damages under the Copyright
           27

           28
                                                          14
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            1
                             Act based on its claim that AOL had
            2
                             infringed 299,507 images.
            3
                   92.       In the August 2018 demand letter, Evox      Id. at 2.
            4
                             stated that it had found that AOL had
            5
                             made 299,507 Evox images “available to
            6
                             the public” after license termination.
            7
                   93.       Thompson testified that it would have       Ex. 11 at 216:17–217:22.
            8
                             cost AOL less than $500,000 to license
            9
                             the 299,507 images that were the subject
           10
                             of the August 2018 demand letter.
           11
                   94.       Thompson testified that Evox did not        Id. at 177:8–14, 213:18–
           12
                             immediately inform AOL of Evox’s            214:18.
           13
                             findings in 2017, but rather waited until
           14
                             August 2018, because Evox was
           15
                             “concerned that AOL would take [the
           16
                             images] down.”
           17
                   95.       AOL’s access logs rolled off of AOL’s       Ex. 10 at 40:2–12, 44:3–9,
           18
                             systems in 2017 after “approximately        46:16–48:17, 50:16–52:5.
           19
                             two weeks” in the ordinary course of
           20
                             business depending “upon how much
           21
                             disc space [wa]s available.”
           22
                   96.       AOL’s access logs from the origin server Id. at 44:3–9.
           23
                             hosting Evox’s images in 2017 were
           24
                             overwritten after about two-weeks.
           25
                   97.       AOL’s access logs showing whether any       Ex. 10 at 50:16–51:7; Ex. 7
           26
                             Evox images served between February         at 44:5–50:6; Ex. 2 at
           27
                             2017 and June 2017 are “long gone.”         85:19–88:7.
           28
                                                            15
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            1
                   98.       By August 2018, when Evox sent its             Ex. 7 at 126:9–20, 129:21–
            2
                             demand letter to AOL, there was “[n]o          130:4.
            3
                             way” to determine whether Evox images
            4
                             had been served to users before June
            5
                             2017.
            6
                   99.       There currently is “no” “way that              Ex. 10 at 50:16–19.
            7
                             Autoblog can determine how many Evox
            8
                             images were served between February
            9
                             2017 and June 2017.”
           10
                   100.      When asked whether he had any                  Ex. 19 at 56:4–57:23.
           11
                             “knowledge . . . whether members of the
           12
                             public were actually served with any of
           13
                             the 299,507 images” at issue after
           14
                             February 2017, Evox’s expert Jonathan
           15
                             Hochman could not identify any
           16
                             “evidence that would show that.”
           17
                   101.      When asked whether he had “seen . . .          Ex. 21 at 164:1–166:21.
           18
                             any evidence that an Evox image was
           19
                             served to a member of the public after
           20
                             the license terminated,” Evox’s expert
           21
                             Jeffrey Sedlik could not identify any
           22
                             such evidence.
           23
                   102.      Evox expert Jeffrey Sedlik testified that      Id. at 172:21–25.
           24
                             he had not “seen evidence that some
           25
                             person out there in the public . . . used or
           26
                             accessed an [Evox] image” through
           27
                             AOL’s server after February 2017.
           28
                                                           16
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            1

            2    DATED: June 24, 2021
            3                                       SCOTT A. EDELMAN
                                                    PERLETTE MICHÈLE JURA
            4                                       ILISSA SAMPLIN
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            5                                       GIBSON, DUNN & CRUTCHER LLP
            6
                                                    By: /s/ Scott A. Edelman
            7                                                     Scott A. Edelman
            8                                       Attorneys for Defendants AOL INC., OATH
                                                    INC., and VERIZON MEDIA INC.
            9

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